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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE


KRISTINA RAPUANO, VASSIKI CHAUHAN,
SASHA BRIETZKE, ANNEMARIE BROWN,
ANDREA COURTNEY, MARISSA EVANS,
and JANE DOE,                                        CASE NO. 1:18-cv-01070

       Plaintiffs, on behalf of themselves and all
       others similarly situated,
v.

TRUSTEES OF DARTMOUTH COLLEGE,

       Defendants.


             ASSENTED-TO MOTION FOR ADMISSION PRO HAC VICE OF
                         AUSTIN WEBBERT, ESQUIRE

       Pursuant to Local Rule 83.2(b), the undersigned respectfully moves for the admission pro

hac vice of Austin Webbert, Esquire, of Sanford Heisler Sharp, LLP, 111 S. Calvert Street, Suite

1950, Baltimore, Maryland 21202, 410-834-7418 (direct), 410-834-7420 (office), 410-834-7425

(facsimile), awebbert@sanfordheisler.com, for purposes of appearance as co-counsel on behalf

of the Plaintiffs in the above-captioned case only. In support of this Motion, the undersigned

states as follows:

       1.      Movant, Charles G. Douglas, III, Esquire, of the law firm of Douglas, Leonard &

Garvey, P.C., 14 South Street, Suite 5, Concord, New Hampshire 03301, is a member in good

standing of the New Hampshire Bar and the United States District Court for the District of New

Hampshire.

       2.      Austin Webbert is not admitted to practice in the United States District Court for

the District of New Hampshire. He is a member in good standing of the bar of Maine.

       3.      Austin Webbert is not currently suspended or disbarred in any jurisdiction, and

there are no disciplinary proceedings pending against him.
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       4.      Austin Webbert is familiar with the Local Rules of the United States District

Court for the District of New Hampshire.

       5.      In accordance with the Local Rules of this Court, Austin Webbert’s affidavit in

support of this Motion has been attached as Exhibit A.

       6.      In accordance with the Local Rules of this Court, Austin Webbert has made

payment of this Court’s $100.00 admission fee contemporaneously with the filing of this Motion.

       7.      In accordance with the Local Rules of this Court, Austin Webbert will register as

a Filing User of the Court’s ECF system by completing an online registration form on the

Court’s website at www.nhd.uscourts.gov.

       8.      Counsel for Defendant assented to the relief requested herein.

       9.      Because the relief requested herein is discretionary with the Court, no

accompanying memorandum of law is believed to be required.

       WHEREFORE, Charles G. Douglas, III, Esquire, moves this Court to enter an Order for

Austin Webbert, Esquire, to appear before this Court on behalf of Plaintiffs for all purposes

relating to the proceedings in the above-captioned matter.

                                                    Respectfully submitted,
                                                    PLAINTIFFS
                                                    By their attorneys,
                                                    DOUGLAS, LEONARD & GARVEY, P.C.




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Date: December 20, 2018                     By:   /s/ Charles G. Douglas, III
                                                  Charles G. Douglas, III (NH Bar No. 669)
                                                  DOUGLAS, LEONARD & GARVEY, P.C.
                                                  14 South Street, Suite 5
                                                  Concord, NH 03301
                                                  Phone: (603) 224-1988
                                                  Fax: (603) 229-1988
                                                  chuck@nhlawoffice.com



                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was electronically served via ECF to all counsel of

record on this 20th day of December 2018.


                                                  /s/ Charles G. Douglas, III
                                                  Charles G. Douglas, III




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